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  8                             UNITED STATES DISTRICT COURT
  9   CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 10
 11   BAXTER BAILEY & ASSOCIATES, ) Case No. 2:18-CV-08246-AB-GJS
 12                                                                  )
                         Plaintiff,                                  )   [PROPOSED] JUDGMENT
 13
                                                                     )
 14            vs.                                                   )   [Fed. R. Civ. P. 56, L.R. 56–1]
 15                                                                  )
      READY PAC FOODS, INC.; TKM-
                                                                     )   TIME:   10:00 a.m.
 16   BENGARD FARMS, LLC; and
      DOES, 1 to 100,                                                )   DATE:   February 21, 2020
 17                                                                  )   CRTRM.: 7B
 18                       Defendants.                                )
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                                                                                       [PROPOSED] JUDGMENT
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  1            The motion for summary judgment of defendants Ready Pac
  2   Foods, Inc. (“Ready Pac”) and TKM-Bengard Farms, LLC (“TKM”)
  3   came on for hearing on February 21, 2020 in Courtroom 7B before the
  4   Honorable André Birotte Jr. The Court, having granted the
  5   defendants’ motion for summary judgment, enters judgment in favor of
  6   Ready Pac and TKM and against plaintiff Baxter Bailey & Associates
  7   (“Baxter”).
  8
  9            IT IS ORDERED AND ADJUDGED that:
 10
 11            1.        Baxter’s complaint in the above-captioned action is
 12   dismissed with prejudice; and
 13
 14            2.        Baxter take nothing from either Ready Pac or TKM.
 15
 16            IT IS SO ORDERED.
 17
 18   Dated: March 11, 2020                                              _____________________________
 19                                                                      André Birotte Jr.
                                                                         United States District Judge
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                                                                                   [PROPOSED] JUDGMENT
